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J:N THE UNITED sTATEs DISTRICT coURT F'LED BY ~--~ D‘c'

FoR THE wEsTERN DISTRICT oF TENNESSEE _
wEsTERN DIvIsIoN 05 JUL 'l* AH|\~ 03

mem ;\._, GOULDH

 

UNITED S'I‘ATES OF AMERICA,

)
)
Plaintiff, )
}
vs. ) CR. NO. 04-20330-Ma
)
SAMMIE FORD, )
SHIRLEY F'ORD, )
RICI<Y BROWN, )
)
Defendants. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for' a report date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 24, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy tri E:l.

13 l'
IT IS SO ORDERED thiS _____day' Of J`Llly, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DIS'I'RICT JUDGE

 

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wlth Fiu|e 55 and/or 32(b) FHCrP on '” -

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UNITED TEATS DISTRIC COURT - \)VEERNST D"RITICT o TENNESSEE

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Honorable Samuel Mays
US DISTRICT COURT

